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                                     United States District Court
                                             EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION

DATE:      8/14/2023                                                                 CASE NUMBER: 4:19cr85
LOCATION: Plano, TX                                        USA
JUDGE:    Sean D. Jordan                                                                  William Tatum Assigned
DEP.CLERK: Bonnie Sanford                                    V.                           William Tatum Appeared
REPORTER: Gayle Wear
USPO:     Shruti Bhakta                                    ANTHONY BUDREAU
INTERP:    Not Required                                            Defendant
                                                                                                 Douglas Schopmeyer
                                                                                                    Defense Attorney
Begin: 2:00 pm         Adjourn: 2:24 pm
                                      REVOCATION SENTENCING
 Allegations     CUSTODY            FINE            REST       JVTA        SUP/REL        CC/CS W/CT       SP/ASSESS

 1, 3, 4          6 months




The defendant pleads true to Allegations 1, 3, 4.
Allegation 2 is dismissed.


The court recommends defendant be placed in the North Texas area.



Defendant remanded to the U.S. Marshal.




X . . . Defendant advised of right to appeal plea and/or sentence and apply for court appointed counsel.
